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U.S. DISTRICT COURT

IN THE UNITED STATES Di§URICT @OURT. AKD
FOR THE DISTRICT OF ME oe ee 1:06

* CLERK’S OFFICE
MAYOR AND CITY COUNCIL AT BALTIMORE
OF BALTIMORE, | + ay DEPUTY
Plaintiff, 4

Vv. , * _ Civil Action No.: RDB-19-1103

ALEX M. AZAR IT, Secretary of Health *
and Human Services, et a/,

Defendants.

* * * * * * Bs * * * * * ox

MEMORANDUM ORDER >

On February 14, 2020, this Court entered a Memorandum Opinion and Order
permanently enjoining in the State of Maryland the Health and Human Services Final Rule,
entitled Comphance with Statutory Program Intearity Requirements, 84 Fed. Reg. 7,714 (Mar. 4, 2019), |
codified at 42 C.E.R. Part 59 (“Final Rule”). (ECF Nos. 93, 94.) On February 24, 2020, the
Defendants filed a Notice of Appeal in the United States Court of Appeals for the Fourth
Circuit. (ECF No. 95.) The same day, Plaintiff filed a Motion to Clarify the Judgment, seeking
clarity from the Court that the February 14, 2020 judgment vacated and set aside the Final
Rule. (ECF No. 96.) Further briefing is not necessary. For the reasons stated below,
Plaintiff's Motion to Clarify (ECF No. 96) is GRANTED in that the Final Rule is VACATED
AND SET ASIDE in the State of Maryland.

While Defendants’ Notice of Appeal divests this Court of “jurisdiction of all matters
telating to the appeal,” that rule “is not absolute.” See In re Grand Jury Proceedings Under Seal,

947 F.2d 1188, 1190 (4th Cir. 1991). This Court retains jurisdiction “to correct clerical
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mistakes” or to consider matters “in aid of the appeal.” See DuBuzt v, Harwell E-nters., 540 F.2d
690, 693 (4th Cir. 1976); see also United States v. Abdel-Aziz, 67 Fed. App’x 805, 806 (4th Cir.
2003). “A ruling aids the appeal when it ‘simply memorialize|s the district court ruling”’ or
“when it ‘téliev[es] [the Fourth Circuit] from considering the substance of an issue begotten
merely from imprecise wotding’ in an earlier order.” United States v. McLean, Criminal No.
WDQ-10-0531, 2012 WL 259322, at *2 (D. Md. Jan. 25, 2012) (quoting In re Grand Jury
Proceedings, 947 F.2d at 1190)); see also Lytk v. Griffith, 240 F.3d 404, 408 n.2 (4th Cir. 2001)
(order clarifying which defendants were enjoined aided the appeal by resolving an issue from
the “imprecise wording in the [original] injunction”).
In this case, Plaintiff seeks an Order clarifying that the Court’s Memorandum Opinion
and Order vacated and set aside the Final Rule. . While the Court did not-explicitly state that
the Final Rule was vacated and set aside in Maryland, vacatut in the State of Maryland was the
precise effect of the ruling. (See Mem. Op. at 25, ECF No. 93 (“In this case...the Court is
compelled to set aside the Final Rule as arbitrary and capricious.”).); see also 5 USC. § 706(2)(A)
(the APA tequites a reviewing coutt to “hold unlawful and set aside agency action ...found to
be... arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law”);
Black’s Law Dictionary (11th ed. 2019) (defining “vacatur” as the “act of annulling ot setting
aside”). Accordingly, this Court is not divested of jurisdiction to enter this Memorandum
Order, which “simply memorializes” what is implicit from its February 14, 2020 Memorandum
Opinion and Order.

For the reasons stated above, IT IS this 26th day of February 2020, HEREBY

ORDERED:
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1. Plaintiff's Motion to Clarify the Judgment (ECF No. 96) is GRANTED;

2. Specifically, the Court clarifies that its February 14, 2020 Memorandum Opinion (ECF
No. 93) and Order (ECF No. 94) VACATED AND SET ASIDE IN THE STATE
OF MARYLAND the Health and Human Services Final Rule, entitled Comphance with
Statutory Program Integrity Requirements, 84 Fed. Reg. 7,714 (Mar. 4, 2019), codified at 42
C.F.R. Part 59; and

3. The Clerk of this Court shall transmit copies of this Memorandum Order to Counsel
of record.

Richard D. Bennett
United States District Judge
